         Case 2:14-cr-00168-TOR              ECF No. 480                filed 01/08/15              PageID.2060 Page 1 of 1
O PS 8                                                                                                                      FILED IN THE
(5/04)                                                                                                                  U.S. DISTRICT COURT
                                                                                                                  EASTERN DISTRICT OF WASHINGTON


                              UNITED STATES DISTRICT COURT                                                         Jan 08, 2015
                                                                       for                                             SEAN F. MCAVOY, CLERK



                                              Eastern District of Washington


U.S.A. vs.                   Strasburg, Shelbie R.                                     Docket No.             0980 2:14CR00168-TOR-8


                                Petition for Action on Conditions of Pretrial Release

         COMES NOW Anne L. Sauther, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant Shelbie R. Strasburg, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge John T. Rodgers sitting in the court at Spokane, Washington, on the 3rd day of December 2014 under
the following conditions:

Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner. Defendant may not use or
possess marijuana, regardless of whether defendant has been prescribed a medical marijuana card.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                     (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: Shelbie Strasburg is considered in violation of her pretrial release conditions by using an unlawful
controlled substance, methamphetamine, on or about January 2, 2015.


                            PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                                          I declare under the penalty of perjury
                                                                                          that the foregoing is true and correct.
                                                                                          Executed on:        January 7, 2015
                                                                              by          s/Anne L. Sauther
                                                                                          Anne L. Sauther
                                                                                          U.S. Pretrial Services Officer


THE COURT ORDERS

[ ]      No Action
[X ]     The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      Other


                                                                                             Signature of Judicial Officer

                                                                                                January 8, 2014
                                                                                             Date
